          Case 1:07-cr-00187-WMS      Document 357     Filed 09/29/09   Page 1 of 2




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

          v.                                                     DECISION AND ORDER
                                                                      07-CR-187S
PEDRO ANTONETTY

                              Defendant.


          1.    On August 3, 2009, the Defendant entered into a written plea agreement

(Docket No. 342) and pled guilty to a One Count Superseding Information (Docket No. 341)

charging a violation of Title 21, U.S.C. Section 848(a) (engaging in a continuing criminal

enterprise).

          2.    On August 3, 2009, the Honorable H. Kenneth Schroeder, Jr., United

States Magistrate Judge, filed a Report and Recommendation (Docket No. 344)

recommending that Defendant’s plea of guilty be accepted and the Defendant adjudicated

guilty.

          3.    This Court has not received objections to the Report and Recommendation

in accordance with 28 U.S.C. §636(b)(1)(C) and Local Rule 58.2(a)(3).

          4.   This Court has carefully reviewed de novo Judge Schroeder’s August 3, 2009,

Report and Recommendation, the plea agreement, transcript of the proceeding, and the

applicable law. Upon due consideration, this Court finds no legal or factual error in Judge

Schroeder’s Report and Recommendation, and will accept Judge Schroeder’s

recommendation that Defendant’s plea of guilty be accepted and that the Defendant be

adjudicated guilty as charged.
      Case 1:07-cr-00187-WMS        Document 357      Filed 09/29/09   Page 2 of 2




      IT HEREBY IS ORDERED, that this Court accepts Judge Schroeder’s August 3,

2009, Report and Recommendation (Docket No. 344) in its entirety, including the

authorities cited and the reasons given therein.

      FURTHER, that the plea of guilty of Defendant Pedro Antonetty is accepted, and

he is now adjudged guilty of Title 21, U.S.C. Section 848(a).

      SO ORDERED.


Dated: September 29, 2009
       Buffalo, New York


                                                         /s/ William M. Skretny
                                                        WILLIAM M. SKRETNY
                                                      United States District Judge




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